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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LAWRENCE WESLEY and                            :
LUMEW REALTY, INC.,                            :          CIVIL ACTION
                                               :
               v.                              :          No. 22-cv-4699-JMY
                                               :
                                               :
GREG PARKER, et al.                            :

                                          ORDER

       AND NOW, this 22nd day of June, 2023, upon consideration of the Suggestion of

Bankruptcy (ECF No. 13) filed by Defendant Diamante Enterprises, LLC, it is hereby

ORDERED the that Plaintiffs’ Motion to Enforce Settlement Agreement (ECF No. 11) is

DENIED without prejudice and with leave to refile once the automatic stay pursuant to 11

U.S.C. § 362 is lifted.

       The video conference on said Motion to Enforce, scheduled for Wednesday, July 26,

2023 at 10:00, is CANCELED.

       It is so ORDERED.


                                                   BY THE COURT:

                                                     /s/ John Milton Younge
                                                   Judge John Milton Younge
